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8                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
9                                      AT SEATTLE
10
     UNITED STATES OF AMERICA,        )
11                                     )               NO.    CR07-264RSM
                      Plaintiff,       )
12                                     )               ORDER DENYING
                v.                     )               DEFENDANT’S MOTION
13                                     )               TO REVOKE ORDER OF
     BIRDIE E. BELLINGER,              )               DETENTION
14                                     )
                      Defendant.       )
15   _________________________________)
16
            THIS MATTER having come before the Court upon a motion by the Defendant to
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     Revoke the Order of Detention, and based upon that motion, the record of the hearing
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     before the Magistrate Judge, the affidavits submitted, the Magistrate Judge’s Order of
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     Detention, and the entirety of the records and files herein, the Court FINDS and RULES
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     as follows:
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            1.     The defendant has been charged by Indictment with Bank Fraud and Social
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     Security Fraud. The government alleges that she was part of a large-scale fraud ring
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     involving more than 10 individuals engaging in a series of fraudulent schemes including
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     counterfeiting, identity theft, and bank fraud.
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            2.     A detention hearing was held before the Magistrate Judge on July 24, 2007.
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     Pre-Trial Services, after interviewing the defendant, recommended detention as did the
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     government. The Magistrate Judge ordered the defendant detained.
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     ORDER DENYING DEFENDANT’S MOTION
     TO REVOKE ORDER OF DETENTION - 1
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1           3.   On August 20, 2007, defense counsel provided additional information about
2    her client’s living situation and requested that the Magistrate Judge re-open the detention
3    hearing. This motion was denied on August 24, 2007.
4           4.   According to the Pre-trial Services Report, the defendant has a lengthy
5    criminal history going back to 1976. While many of her convictions were for
6    misdemeanor violations there are several felony convictions for assault and assault with a
7    deadly weapon.
8           5.   The defendant has prior failures to appear, probation violations and multiple
9    warrants for her arrest have been issued by various courts.
10          6.   At the time of her arrest for the instant offense, the defendant was on active
11   DOC supervision by the state of California. The address where she was living was not
12   the same address approved by her supervising community corrections officer.
13          7.   The defendant is associated with 12 alias names, 6 dates of birth and 5 social
14   security numbers. She has a history of abusing drugs and alcohol and has active mental
15   health issues.
16          8.   Based upon a review of the evidence before the Magistrate Judge, as well as
17   the evidence subsequently presented to this Court, the Magistrate Judge’s finding that the
18   government met its burden of establishing by clear and convincing evidence that no
19   condition or combination of conditions which the defendant can meet will reasonably
20   assure the appearance of the defendant and the safety of any other person in the
21   community, was not error. Therefore, the defendant’s Motion to Revoke Order of
22   Detention is DENIED.
23                    DATED this 17 day of September, 2007.
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26
                                                      A
                                                      RICARDO S. MARTINEZ
                                                      UNITED STATES DISTRICT JUDGE
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     ORDER DENYING DEFENDANT’S MOTION
     TO REVOKE ORDER OF DETENTION - 2
